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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


     IN RE: CENTURYLINK SALES                       MDL No. 17-2795 (MJD/KMM)
     PRACTICES AND SECURITIES
     LITIGATION

     This document relates to:
     0:17-cv-02832, 0:17-cv-04613,                PRETRIAL ORDER NO. 4:
     0:17-cv-04614, 0:17-cv-04615,                SCHEDULING ORDER
     0:17-cv-04616, 0:17-cv-04617,
     0:17-cv-04618, 0:17-cv-04619,
     0:17-cv-04622, 0:17-cv-04943,
     0:17-cv-04944, 0:17-cv-04945,
     0:17-cv-04947, 0:17-cv-05001,
     0:17-cv-05046


      Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of

this Court, and in order to secure a just, speedy, and inexpensive determination of this

action, the following schedule shall govern these proceedings. This schedule may be

modified only upon formal motion and a showing of good cause as required by Local

Rule 16.3.

Initial Disclosures

      Plaintiffs served their Fed. R. Civ. P. 26(a)(1) initial disclosures on April 23, 2018

pursuant to the Rule 26(f) Report submitted by the Parties on March 30, 2018. Prior to

April 23, Defendant informed Plaintiffs of its position that Rule 26(a)(1) initial

disclosures should not be served in light of its then-pending motion to stay. On May 8,

2018, the Court granted the motion to stay (“Stay Order”) [MDL Docket No. 145]. The
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parties propose that Defendant serve its Fed. R. Civ. P. 26(a)(1) initial disclosures five

business days after the Court lifts the Stay Order, should it occur.

Motions Directed at the Consolidated Class Action Complaint

       1.     On April 2, 2018, ten proposed Intervenors filed a Motion to Intervene.

       2.     Defendant filed its (1) Motion to Compel Arbitration and Enforce Class-

Action Waivers (“Motion to Compel Arbitration,” joined by the proposed Intervenors)

and (2) an Alternative Motion to Dismiss (“Motion to Dismiss”) on April 28, 2018.

       3.     Plaintiffs shall file any Opposition to Defendant’s and Intervenors’ Motion

to Compel Arbitration, Opposition to Defendant’s Motion to Dismiss, Opposition to

Intervenors’ Motion to Intervene, and conduct any discovery necessary thereto, by July

26, 2018.

       4.     Defendant shall file any Reply briefs in support of its Motion to Compel

Arbitration and/or Motion to Dismiss, and conduct any discovery necessary thereto, by

September 25, 2018.

       5.     The Court shall set the hearing on Defendant’s Motion to Compel

Arbitration, Motion to Dismiss, and Motion to Intervene for at least 28 days after briefing

on all three motions is submitted, subject to the Court’s availability.

Defendant’s Answer and Amendments to the Pleadings

       6.     Defendant’s Answer shall be due 30 days after the Court’s denial of

Defendant’s Motion to Compel Arbitration / Motion to Dismiss, should both occur.

       7.     Motions seeking to add or join other parties must be filed and served no

later than 30 weeks after the Court’s lifting of the Stay Motion, should it occur.

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       8.        Motions seeking to amend the pleadings must be filed and served no later

than 30 weeks after the Court’s lifting of the Stay Motion, should it occur.

Class Certification

       9.        Plaintiffs must file any Motion for Class Certification within 15 months

after the Court’s lifting of the Stay Motion, should it occur.                 Plaintiffs shall

simultaneously submit any expert reports offered in support of class certification.

       10.       Defendant shall file any Opposition to Plaintiffs’ Motion for Class

Certification no later than 60 days after the filing of the Motion for Class Certification.

Defendant shall simultaneously submit any expert reports offered in opposition to class

certification.

       11.       Plaintiffs’ shall file any Reply in Support of Class Certification no later

than 60 days after the filing of Defendant’s Opposition to Class Certification, along with

any rebuttal expert reports.

       12.       The Court shall set the hearing on Plaintiffs’ Motion for Class Certification

for 28 days after the conclusion of all briefing is concluded, subject to the Court’s

availability.

Post-Class Certification Scheduling

       13.       After its ruling on Plaintiffs’ Motion for Class Certification, the Court shall

enter a new scheduling order to address (1) the close of fact discovery; (2) further expert

discovery; (3) dispositive motions; and (4) trial.




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Summary Judgment

      14.    The filing of any motion for summary judgment prior to the entry of a new

scheduling order shall be in accordance with the governing local and federal rules.



Dated: May 15, 2018                                    s/Michael J. Davis
                                                       Michael J. Davis
                                                       United States District Court Judge

 




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